                           UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                        : No. 1:23-bk-00988-HWV
    UPTOWN PARTNERS, LP d/b/a                  :
    Residences at Governor’s Square,           :     Chapter 11
    a/k/a Governor’s Square Apartments         :
                                               :
                                Debtor         :

                                 CERTIFICATE OF SERVICE

I, Joanne M. Bartley, with the law firm of Cunningham, Chernicoff & Warshawsky, P.C. hereby
certify that on August 5, 2024, a true and correct copy of the attached APPLICATION TO
APPROVE THE EMPLOYMENT OF JOEL A. READY, ESQUIRE AND
CORNERSTONE LAW FIRM AS SPECIAL COUNSEL TO THE DEBTOR AND
TO ALLOWAN ADMINISTRATIVE CLAIM was served via electronic means through
the Court’s ECF filing system and/or by first- class mail, postage prepaid, unless otherwise noted,
as follows:

 Office of the United States Trustee            Bureau of Employer Tax Operations
 1501 North 6th Street                          Labor & Industry Building
 Harrisburg, PA 17102                           651 Boas Street
                                                Harrisburg, PA 17106-8568
 Internal Revenue Service
 Centralized Insolvency Operation               U.S. Department of Justice
 P.O. Box 7346                                  P.O. Box 227
 Philadelphia, PA 19101-7346                    Ben Franklin Station
                                                Washington, DC 20044
 Office of Attorney General
 Financial Enforcement Section                  United States Attorney
 Strawberry Square, 15th Floor                  1501 North 6th Street
 Fourth & Walnut Streets                        Harrisburg, PA 17102
 Harrisburg, PA 17120
                                                Barry A. Solodky, Esquire
 Assistant U.S. Attorney                        Anthony J. Foschi, Esquire
 P. O. Box 11754                                280 Granite Run Drive, Suite 300
 Harrisburg, PA 17108-1754                      Lancaster, PA 17601

                                                Redevelopment Authority
 Securities Exchange Commission
                                                of the City of Harrisburg
 100 Pearl Street, Suite 20-100                 10 North Second Street, Unit 405
 New York, NY 10004-2616                        Harrisburg, PA 17105




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PA Department of Revenue            Marielle Macher, Esquire
Bureau of Compliance                Community Justice Project
Bankruptcy Division                 118 Locust Street
P.O. Box 280946                     Harrisburg, PA 17101
Harrisburg, PA 17128-0946
                                    Suzanne Conaboy Scanlon
                                    Assistant United States Attorney
Lauren A. Michaels, Esquire
                                    Middle District of Pennsylvania
Commonwealth of Pennsylvania
                                    235 N. Washington Ave.
Office of Attorney General
                                    PO Box 309
1251 Waterfront Place
                                    Scranton, PA 18501
Mezzanine Level
Pittsburgh, PA 15222                Bradford Dorrance, Esquire
                                    Keefer Wood Allen & Rahal, LLP
Clayton W. Davidson, Esquire        417 Walnut Street, 3rd Floor
McNees Wallace & Nurick LLC         P.O. Box 11963
100 Pine Street, PO Box 1166        Harrisburg, PA 17108-1963
Harrisburg, PA 17108-1166




                                   s/ Joanne M Bartley
                                  Joanne M. Bartley
                                  Assistant to Robert E. Chernicoff, Esquire




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